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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 A.S.R.,

              Petitioner,

 v.                                                              No. 3:25-cv-00113
                                                              Judge Stephanie L. Haines
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

              Respondents.


       NOTICE is hereby given that Respondents appeal to the United States Court of Appeals for

the Third Circuit from the order, see Dkt. No. 73, and opinion, see Dkt. No. 72, entered on May 13,

2025 granting a preliminary injunction. The order is an appealable interlocutory order of the district

court under 28 U.S.C. § 1292(a)(1). The order incorporates previously issued orders, see ECF Nos.

8 (order of court), 44 (mem.op. & order). Respondents appeal those orders that are attendant to the

granting of the preliminary injunction.

Dated: July 11, 2025

                                              TROY RIVETTI
                                              ACTING UNITED STATES ATTORNEY

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